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                                                AFFIDAVIT OF SERVICE

State of Florida                                               County of                             United States Middle District Court

Case Number: 6-22-CV-73-RBD-LRH

Plaintiff:
Ashley Francis
vs.
Defendant:
Account Resolution Services, LLC

For:
Credit Repairs Lawyers of America
sec@crlam.com
22142 W Nine Mile Road
Southfield, MI 48033

Received by All Broward Process Corp on the 22nd day of February, 2022 at 1:32 pm to be served on Account
Resolution Services, LLC c/o C T Corporation System, 1200 South Pine Island Rd, Plantation, FL 33324.

I, Francisco X. Carreras, being duly sworn, depose and say that on the 23rd day of February, 2022 at 1:45 pm, I:

served a REGISTERED AGENT by delivering a true copy of the SUMMONS IN A CIVIL ACTION, and COMPLAINT
with the date and hour of service endorsed thereon by me, to: Donna Moch as Registered Agent at the address of:
1200 South Pine Island Rd, Plantation, FL 33324 on behalf of Account Resolution Services, LLC, and informed
said person of the contents therein, in compliance with state statutes.

Description of Person Served: Age: 55+, Sex: F, Race/Skin Color: White, Height: 5'5", Weight: 140, Hair: Brown,
Glasses: N

I certify that I am over the age of 18, have no interest in the above action, and am a Certified Process Server, in
good standing, in the judicial circuit in which the process was served. Under penalty of perjury I declare I have read
the foregoing Return of Service and that the facts stated are true. Notary not required pursuant to F.S. 92.525(2).
Electronically signed in accordance with FSS 48.21(1).




                                                                             Francisco X. Carreras
Subscribed and Sworn to before me on the _____ day                           #582
of _______________, _______ by the affiant who is
personally known to me or appeared by means of                               All Broward Process Corp
physical presence or online notarization.                                    701 N Fig Tree Lane
                                                                             Plantation, FL 33317
____________________________                                                 (954) 214-5194
NOTARY PUBLIC
                                                                             Our Job Serial Number: BPC-2022000641


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